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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                           MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. Lavon Dobie
                      Criminal No. RWT-04-235-9

       DATE:          June 22, 2012

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              At the request of the parties, the resentencing of the Defendant, a hearing on Defendant’s
       Motion for Retroactive Application of Sentencing Guidelines to Crack Cocaine Offense
       [ECF No. 1476] and Defendant’s Motion to Hold in Abeyance the Right to File a Motion Under
       2255 [ECF No. 1515] that is currently scheduled for July 17, 2012 at 1:00 p.m. is
       RESCHEDULED for October 29, 2012 at 3:30 p.m. The presence of the Defendant is
       required.

               Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly.



                                                                    /s/
                                                      Roger W. Titus
                                                      United States District Judge
